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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF VIRGINIA
                            Newport News Division

  PATRICIA E. MULLINEX,                    )
  INDIVIDUALLY AND AS THE                  )
  EXECUTOR OF THE ESTATE OF                )
  HERBERT H. MULLINEX, JR.,                )
                                           )
                    Plaintiffs,            )
  v.                                       ) Case No. 4:18-cv-00033-RAJ-DEM
                                           )
  JOHN CRANE INC.,                         )
                                           )
                   Defendant.              )



          DEFENDANT JOHN CRANE INC.’S OPPOSITION TO PLAINTIFFS’
          MOTION FOR LEAVE TO FILE FOURTH AMENDED COMPLAINT
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                                          INTRODUCTION

         Until the morning of trial, Plaintiffs pursued remedies under maritime law—not Virginia

  law—in what Plaintiffs call this “quintessential maritime product liability action.” Pls.’ Opp. to

  MTD Maritime Claims 29, ECF 130 (Feb. 6, 2020). Plaintiffs’ counsel was candid about that

  strategy: “pain and suffering is not a recoverable item under Virginia’s wrongful death statute,” so

  “[h]istorically, we had preferred . . . to ask for the pain and suffering in the maritime law [rather]

  than the Virginia damages.” 5/24 Tr. 4:20–21, 4:25–5:3, ECF 546-3. (Virginia’s statutory cap on

  punitive damages surely informed that strategic decision too. See Va. Code Ann. § 8.01-38.1.)

  But that strategy backfired when this Court dismissed the survival claim for pain and suffering and

  medical expenses, after it had excluded evidence of loss of consortium and punitive damages.

  Since Plaintiffs developed no evidence of any other alleged wrongful death damages, Plaintiffs

  admitted that “all of the damages that we sought under maritime law have now been stricken.”

  5/24 Tr. 7:16-17.

         When trial was scheduled to begin, however, “Plaintiff changed gears” by seeking to file a

  Fourth Amended Complaint to pivot to those previously spurned Virginia remedies. Pls.’ Memo.

  in Support of Motion for Leave to File a Fourth Amended Complaint (“Motion for Leave”) 12,

  ECF 546 (June 14, 2022). In Plaintiffs’ telling, the operative Third Amended Complaint “already

  specifically alleged” a Virginia wrongful death claim, id. at 7, so the Fourth Amended Complaint

  is merely meant “to further clarify the wrongful death cause of action that she already alleged,” id.

  at 8. In particular, Plaintiffs are “simply seeking leave to amend [the] complaint and specifically

  cite to Virginia’s wrongful death statute.” Id. at 13.

         But adding a citation to the Virginia Code does not change the fact that Plaintiffs had

  already abandoned any claim for Virginia remedies. In fact, the Motion for Leave makes that



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  abandonment clear: Plaintiffs’ assertion that a Virginia wrongful death claim has long been in the

  operative complaint would only confirm that their failure to argue for Virginia damages before

  was a matter of strategic avoidance, not excusable neglect. The imperative not to reward such

  gamesmanship is one of at least three reasons to deny the Motion for Leave. In fact, each of the

  three well-established grounds for denying leave to amend—the movant’s bad faith, the

  amendment’s futility, and prejudice to the non-movant—sinks Plaintiffs’ request here. Moore v.

  Equitrans, L.P., 27 F.4th 211, 218 (4th Cir. 2022).

         First, Plaintiffs’ bid to resuscitate those Virginia remedies at the eleventh hour is in bad

  faith. As the Court noted, Plaintiffs “were not approaching this case from the standpoint of it being

  a wrongful death action under Virginia law,” but instead “were approaching this case in terms of

  it being a case under maritime law.” 5/24 Tr. 5:24–6:2. Thus, in opposing JCI’s motion on loss

  of consortium and punitive damages, Plaintiffs invoked only the maritime remedies they preferred,

  staying silent all the while on a backup plan to seek those same remedies under Virginia law. And

  Plaintiffs’ jury instructions likewise rested on maritime law’s remedial scheme while keeping mum

  on Virginia remedies.

         But “a plaintiff who treats his complaint like the game of Battleship, moving the target

  across the board every time it suffers a fatal blow, acts in bad faith, and should not be entitled to

  leave to amend.” Bioiberica Nebraska, Inc. v. Nutramax Mfg., Inc., No. 1:18-cv-03133-SAG,

  2021 WL 242494, at *2 (D. Md. Jan. 25, 2021). Plaintiffs’ insistence that Virginia remedies were

  lying in wait this whole time—awaiting a fatal blow to the maritime remedies—makes this a

  classic instance of bad faith. Plaintiffs’ “any port in a storm” approach to litigation will upend the

  “just, speedy, and inexpensive determination of every action” that federal practice should secure.

  Fed. R. Civ. P. 1.



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         Second, the proposed amendment is futile. By dismissing the survival claim and granting

  JCI’s motion in limine on consortium and punitive damages, the Court has already excluded the

  very remedies Plaintiffs now seek. Adding a citation to Virginia’s wrongful death statute will not

  undo those orders. Nor is reconsideration of those orders warranted to consider Virginia-based

  arguments—for the same remedies—that Plaintiffs have strategically abandoned. In any event,

  those Virginia remedies do not apply to this “quintessential maritime product liability action,” Pls.’

  Opp. to MTD Maritime Claims 29, nor do Plaintiffs cite a single case applying state remedies to a

  case like this one. That lack of support for extending state wrongful death remedies here is no

  surprise; maritime jurisdiction generally entails the application of general maritime law, and

  interposing state remedies would destroy the uniformity that the Supreme Court has made the

  polestar of maritime jurisprudence.

         Third, the proposed eleventh-hour amendment is prejudicial to JCI. JCI was prepared to

  proceed to trial—having completed discovery, brought and opposed many motions in limine, and

  invested substantial resources in trial preparation and attendance—before Plaintiffs decided to

  switch horses the morning of trial. See Red Bird Egg Farms, Inc. v. Pa. Mfrs. Indem. Co., 15 F.

  App’x 149, 154 (4th Cir. 2001) (affirming denial of leave to amend that came three days before

  trial on grounds of undue prejudice to defendant). Plaintiffs’ plan would require JCI to duplicate

  much of those expenses. Worse still, even if Plaintiffs prevail in that trial, they will inevitably

  argue in a post-trial appeal that yet another trial is needed for survival damages under maritime

  law. The better course is to deny the Motion for Leave and enter judgment now, so that an appeal

  can resolve all properly preserved issues without imposing piecemeal trials on the parties, the

  jurors, and the Court.




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                                        LEGAL STANDARD

         After the right to amend has expired, a “party may amend its pleading only with the

  opposing party’s written consent or the court’s leave.” Fed. R. Civ. P. 15(a)(2). While leave to

  amend a complaint “shall be freely give[n] … when justice so requires,” id., a district court may

  deny leave to amend when (1) “there has been bad faith on the part of the moving party”; (2) “the

  amendment would be futile”; or (3) “when the amendment would be prejudicial to the opposing

  party.” Moore, 27 F.4th at 218; see also Fletcher v. Tidewater Builders Ass’n, Inc., 216 F.R.D.

  584, 587 (E.D. Va. 2003) (Jackson, J.) (“Leave to amend may be denied for undue delay, dilatory

  motive on the part of the moving party, futility of amendment, and undue prejudice to the

  nonmoving party.”).

         Whether to allow amendment is “committed to the sound discretion of the Court.”

  Fletcher, 216 F.R.D. at 587. That “discretion of the district court to deny leave to amend increases

  at later stages of litigation” because “the further a case progressed before judgment was entered,

  the more likely it is that the amendment will prejudice the defendant or that a court will find bad

  faith on the plaintiff’s part.” Moore, 27 F.4th at 218.

                                            ARGUMENT

  I.     PLAINTIFFS’ ATTEMPT TO RESUSCITATE FORFEITED REMEDIES ON THE
         DAY OF TRIAL IS IN BAD FAITH.

         The first reason for denying the Motion for Leave is its bad faith. Plaintiffs insist that they

  pled Virginia remedies, yet they abandoned state law to achieve what they thought would be more

  favorable damages under maritime law. Only after the maritime strategy failed—on the morning

  of trial—did Plaintiffs invoke Virginia law for a second bite at the apple on damages. Such

  gamesmanship is quintessential bad faith.




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          A.      Plaintiffs abandoned Virginia remedies in favor of maritime damages.

          Even though Plaintiffs repeatedly insist that they already pleaded Virginia remedies, they

   dodged those remedies while litigating the maritime remedies they preferred for strategic reasons.

   Plaintiffs’ refrain is that Virginia wrongful death remedies have been in the Third Amended

   Complaint all along. See, e.g., Motion for Leave 13 (“Plaintiff has already specifically alleged a

   right to recover the damages under Virginia’s wrongful death statute.”); see also id. at 3–5, 7–8,

   12; 5/24 Tr. 5:13–14 (Plaintiffs’ counsel admitted on the record that Plaintiffs had already “asked

   in a complaint for those damages”). So the putative point of the Motion for Leave is simply “to

   amend her complaint and specifically cite to Virginia’s wrongful death statute.” Motion for Leave

   13.

          Before the morning of trial, however, Plaintiffs had abandoned Virginia’s damages law

   and pressed only for remedies under maritime law. 1 As the Court aptly observed, Plaintiffs did

   not “approach[] this case from the standpoint of it being a wrongful death action under Virginia

   law,” and therefore the Court (and JCI) had “approach[ed] this case in terms of it being a case

   under maritime law.” 5/24 Tr. 5:24–6:2. Even in the last few months before trial, Plaintiffs

   avowed that “[t]his is a general maritime case” and reasserted that they pursued damages under

   maritime law without making any request for those damages under Virginia law. Pls.’ Memo. in

   Support of Motion to Substitute ¶¶ 1, 5–6, ECF 452 (Jan. 13, 2022).

          As Plaintiffs’ counsel explained on the record, there have been good reasons for that


   1
     Although Plaintiffs abandoned Virginia remedies regardless of whether the Third Amended
   Complaint pleaded them, the Third Amended Complaint did not invoke Virginia remedies in any
   meaningful way. The phrase “Virginia law” gets a passing reference in paragraph 9 but appears
   nowhere else; Plaintiffs instead relied on references to maritime liability and remedial schemes
   throughout. Third Amended Complaint ¶¶ 9, 14, 16(b), 21–22, 29–30, ECF 478 (March 24, 2022).
   In fact, the motion for leave to file it reiterated that Plaintiffs sought damages only “under Maritime
   Law.” Pls.’ Memo. in Support for Motion for Leave to File Third Amended Complaint 2, ECF
   476 (Mar. 22, 2022).

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   strategy of seeking damages under maritime rather than Virginia law. In particular, “[h]istorically,

   in Virginia’s wrongful death statute, pain and suffering is not a recoverable item.” 5/24 Tr. 4:19–

   20 (citing Va. Code § 8.01-50). As a result, Plaintiffs’ counsel strategically “preferred to ask for

   the pain and suffering in the maritime law [rather] than the Virginia damages” and “planned [their]

   case around that issue.” Id. at 4:18; 5:1–2. Moreover, Virginia law caps punitive damages at

   $350,000, see Va. Code § 8.01-38.1, while maritime law does not impose a cap on punitives. See

   Exxon Shipping Co. v. Baker, 554 U.S. 471, 495–96, 501–02 (2008) (observing that some states,

   including Virginia, have imposed caps on punitive damages but that no statutory cap applies to

   punitives under maritime law).

          Plaintiffs strategically avoided Virginia remedies in particular in opposing JCI’s motions

   on punitives and loss of consortium, and on survival damages. First, JCI sought to exclude

   evidence related to Plaintiffs’ claims for loss of consortium and punitive damages. See JCI’s

   Motion in Limine to Exclude Evidence Relating to Plaintiffs’ Claim for Loss of Society and

   Punitive Damages (“Motion to Exclude”), ECF 214 (Aug. 19, 2021). After Plaintiffs filed the

   Third Amended Complaint, JCI moved to dismiss the new survival claim, including the request

   for pain and suffering damages and medical expenses. See JCI’s MTD Survival Claim, ECF 481

   (Apr. 6, 2022). Both motions explained—based on the maritime law that Plaintiffs had invoked

   to that point—why Plaintiffs were not entitled to those categories of damages. See JCI’s Memo.

   in Support of Motion to Exclude 1, ECF 215 (Aug. 19, 2021); JCI’s Memo. in Support of MTD

   Survival Claim 1, ECF 482 (Apr. 6, 2022).

          If Plaintiffs wanted to litigate the availability of those damages under Virginia law in good

   faith, the time to do it was in opposition to JCI’s motions on those damages. Plaintiffs had the

   perfect opportunity in observing that courts may “supplement” maritime law with “non-conflicting



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   state legal principles and remedies.” Pls.’ Opp. to Motion to Exclude 3–4. Yet they did not

   because—as Plaintiffs have offered elsewhere—such gap filling is only possible “when confronted

   with a question as to which maritime law is silent.” Pls.’ Opp. to MTD Maritime Claims 13–14

   n.6. But Plaintiffs have consistently maintained that maritime law speaks directly to maritime

   remedies by arguing that

          •   “maritime courts [] traditionally recognized and upheld the recovery of loss of society,”

              id. at 18 (emphasis added);

          •   “punitive damages were available in general maritime law” id. at 20 (emphasis added);

          •   “all seaman’s estates are permitted under Federal Maritime law to recover damages for

              pre-death pain and suffering.” Pls.’ Opp. to JCI’s MTD Survival Claim 4, ECF 494

              (Apr. 20, 2022) (emphasis added); and

          •   “[e]very Federal Circuit Court that has considered the issue has recognized survival of

              pre-death pain and suffering in general maritime (i.e., maritime common law) cases.”

              Id. at 10 (emphasis added).

   Although Plaintiffs were wrong about how maritime law answers those remedial questions, they

   were right that maritime law already provides an answer.

          Even one week before trial, Plaintiffs submitted proposed jury instructions based solely on

   damages under (and cases applying) maritime law. Notably absent is any reference to Virginia

   law as a source of those remedies. Pls.’ Proposed Jury Instructions 37, ECF 517 (May 17, 2022).

          It was only after the Court conclusively rejected Plaintiffs’ arguments under maritime law

   that Plaintiffs pivoted to Virginia law. First, the magistrate judge recommended excluding

   Plaintiffs’ claims for loss of consortium and punitive damages, and the Court adopted that

   recommendation. ECF 533 (May 20, 2022). Then, on May 23, the Court dismissed Plaintiffs’



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   claim for survival damages. Order Granting JCI’s MTD Survival Claim, ECF 538 (May 23, 2022);

   Opinion Granting JCI’s MTD Survival Claim, ECF 544 (June 10, 2022). On May 24, immediately

   following these rulings and on the day trial was set to begin, Plaintiffs’ counsel admitted on the

   record that their case “no longer has any damages that [they] can pursue.” 5/24 Tr. 5:8–10.

   Plaintiffs conceded that “all of the damages that [they] sought under maritime law have now been

   stricken.” Id. 7:16–17. Only at that point—when the exclusive strategic focus on maritime

   remedies backfired—did Plaintiffs ask the Court for leave to amend the complaint to recite

   Virginia remedies. Id. 5:10–18.

          B.      Plaintiffs’ late-breaking reversal on strategically abandoned Virginia law
                  amounts to bad faith.

          Plaintiffs’ strategy of abandoning Virginia remedies until the exclusive focus on maritime

   damages had failed amounts to bad faith. “Bad faith generally involves changing legal theories .

   . . or using Rule 15 to make the complaint a moving target, to salvage a lost case by untimely

   suggestion of new theories of recovery, and to present theories seriatim in an effort to avoid

   dismissal.” Bioiberica Nebraska, 2021 WL 242494, at *2 (alterations and quotations omitted).

   “[T]he further a case has progressed, the more likely it is that a court will find bad faith on the

   plaintiff’s part.” Peters v. Bank of Am., N.A., No. 3:14-cv-513, 2015 WL 269424, at *3 (E.D. Va.

   Jan. 21, 2015). “[L]ate in the game pleading amendments . . . reflect a poor sportsmanship contrary

   to the spirit of the Rules, which is to facilitate a proper decision on the merits” so as “to secure the

   just, speedy, and inexpensive determination of every action.” Id. (quotations omitted).

          Here, both the timing and the nature of the proposed amendment show Plaintiffs are trying

   to “blow[] hot and cold as the occasion demands.” Foothill Cap. Corp. v. E. Coast Bldg. Supply

   Corp., 259 B.R. 840, 845 (E.D. Va. 2001) (Jackson, J.) (quotations omitted). It was not until the

   morning of the jury trial that Plaintiffs asked for another opportunity to amend the complaint. See


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   generally 5/24 Tr.; see also Harrison v. Watts, 609 F. Supp. 2d 561, 571 (E.D. Va. 2009), aff’d,

   350 F. App’x 835 (4th Cir. 2009) (denying amendment where plaintiff “attempt[ed] to introduce

   a new theory at this [late] stage of the case”). Not only does that request come “late in the game,”

   but it follows on the heels of rulings on JCI’s Motion to Exclude and Motion to Dismiss that barred

   Plaintiffs from receiving the only categories of damages sought here. See Sandcrest Outpatient

   Servs., P.A. v. Cumberland Cnty. Hosp. Sys., Inc., 853 F.2d 1139, 1149 (4th Cir. 1988) (affirming

   denial of leave to amend where motion “followed on the heels of appellees’ well-supported joint

   motion for summary judgment” and thus was “possibly prompted only by the concern that

   [appellant] would lose on the summary judgment motion”).

          The proposed amendment represents an inconsistent position that Plaintiffs advance to

   “salvage a lost case” on the heels of the Court’s unfavorable rulings. Bioiberica Nebraska, 2021

   WL 242494, at *2. Now that maritime law no longer serves their purpose, Plaintiffs cannot seek

   damages under a legal framework that they purportedly pled and then chose not to pursue. See id.

   (denying leave to amend because plaintiff “simply cannot be permitted to change its legal theories

   in perpetuity”); Kenny v. Bank of Am., N.A., No. 4:11-cv-120, 2011 WL 13234444, at *2 (E.D. Va.

   Dec. 22, 2011) (finding bad faith in part because plaintiff “made no effort to amend . . . until now,

   when he faces the potential dismissal of his action”).

          That gamesmanship is even worse than in another case in which this Court found bad faith.

   In Midgett, the defendant sought to amend her answer to add compulsory counterclaims during

   discovery, “just weeks before trial.” Midgett, Tr. of Hardcastle Charitable Remained Annuity Tr.

   U/A Aug. 6, 2007 v. Hardcastle, No. 2:17-cv-663, 2018 WL 4781178, at *5 (E.D. Va. Oct. 3, 2018)

   (Jackson, J.). There, the defendant had “made a strategic decision” to file those claims in state

   court, “believing it was the more ‘appropriate’ forum.” Id. The defendant later sought to add her



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   counterclaims to the federal action only because the state court proceedings had stalled, and she

   admitted this was the reason for her amendment. Id. (“In light of this difficulty in obtaining a swift

   ruling in Virginia Beach, [Defendant] is willing to have her claims raised in state court heard in

   this action.”). She thus acted in bad faith because her motion to amend was “based on [her] own

   tactical choices” and made only “after it became clear she would not receive relief in a timely

   manner” in state court. Id.

          Plaintiffs’ request to amend came not weeks before trial, but on the morning the trial was

   set to begin. As in Midgett, Plaintiffs’ counsel acknowledged the reason for trying to amend now:

   “all of the damages that [they] sought under maritime law have now been stricken.” 5/24 Tr. 7:16–

   17. Plaintiffs should not be permitted to “play[] fast and loose with the court[]” by changing their

   position to save their doomed damages claims. Fellores v. Winter, No. 2:06-cv-551, 2007 WL

   473727, at *2 (E.D. Va. Feb. 8, 2007) (Jackson, J.). By trying to do so at the eleventh hour,

   Plaintiffs fall squarely within the first of the three independent grounds upon which this Court can

   deny the amendment: a bad faith attempt to reverse legal strategy at the last minute after the initial

   strategy backfired.

   II.    THE PROPOSED AMENDMENT TO SWITCH TO VIRGINIA REMEDIES IS
          FUTILE.

          For three reasons, the Motion for Leave also should be denied as futile. First, the Court

   has already excluded Plaintiffs’ survival, loss of consortium, and punitive damages claims, and a

   fourth amended complaint will not change those rulings. Second, Plaintiffs cannot meet the high

   burden for reconsidering those rulings based on their own strategic decision not to make Virginia-

   based damages arguments when they could have. Third, Plaintiffs’ new legal theory is meritless;

   Virginia’s damages law does not apply to Plaintiffs’ maritime claims.




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            A.     The Court has already excluded the remedies Plaintiffs now seek under
                   Virginia law.

            Plaintiffs’ proposed amendment is futile because the Court has already issued rulings

   excluding the damages sought in the proposed Fourth Amended Complaint. JCI moved to exclude

   Plaintiffs’ survival, loss of consortium, and punitive damages claims, and the Court granted those

   motions. Adding a citation to the Virginia Code in a new complaint does not change those rulings.

            First, JCI’s motion to dismiss sought an order “striking Plaintiff’s survival claim, including

   her request for survival damages.” JCI’s Memo. in Support of MTD Survival Claim 13, ECF 482

   (Apr. 20, 2022); see also id. (“Plaintiff’s survival claim for Mr. Mullinex’s pain and suffering and

   medical bills must be dismissed.”). The Court granted that motion and dismissed Plaintiffs’

   request for survival damages, finding that Plaintiffs “failed to state a viable survival claim for Mr.

   Mullinex’s pain and suffering and medical expenses.” Opinion Granting JCI’s MTD Survival

   Claim 10, ECF 544 (June 10, 2022); see also id. at 1 (“The court FINDS that Plaintiff is not entitled

   to recover Mr. Mullinex’s pre-death pain and suffering or medical expenses.”). Thus, at most

   Plaintiffs would be “entitled to the pecuniary damages resulting from Mr. Mullinex’s death.” Id.

   at 10.

            Second, JCI’s Motion to Exclude requested an order “excluding evidence relating to

   [Plaintiffs’] claims for loss of society and punitive damages.” ECF 215 at 15; see also id. at 11

   (“JCI is [] entitled to an Order excluding Plaintiffs’ evidence relating to loss of society and punitive

   damages.”). The magistrate judge observed that JCI “moved to exclude Plaintiffs Herbert H.

   Mullinex, Jr., and Patricia E. Mullinex’s evidence relating to their claims for loss of society and

   punitive damages,” and recommended granting in full JCI’s Motion to Exclude those two

   categories of damages. Report and Recommendation on JCI’s Motion to Exclude 1, 7, ECF 351




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   (Oct. 5, 2021). Over Plaintiffs’ objection, the Court adopted and affirmed that recommendation.

   ECF 533.

          With these two rulings, the Court categorically excluded Plaintiffs’ survival, loss of

   consortium, and punitive damages claims. The Court did not limit that exclusion to “maritime”

   remedies. Instead, by their terms, the Court’s rulings apply to the remedies Plaintiffs now seek

   under Virginia law. Those decisions remain the law of this case.

          B.      Reconsideration of the Court’s earlier rulings is not warranted based on
                  sandbagged arguments.

          Nor does the proposed Fourth Amended Complaint merit reconsidering those damages

   orders. Reconsideration of such interlocutory orders is “an extraordinary remedy which should be

   used sparingly.” Pac. Ins. Co. v. Am. Nat’l Fire Ins. Co., 148 F.3d 396, 403 (4th Cir. 1998). That

   sort of reconsideration is generally “cabined” to revising orders in the event of “(1) a subsequent

   trial producing substantially different evidence; (2) a change in applicable law; or (3) clear error

   causing manifest injustice.” U.S. Tobacco Coop. Inc. v. Big S. Wholesale of Virginia, LLC, 899

   F.3d 236, 256–57 (4th Cir. 2018).

          Plaintiffs cannot meet that standard for the extraordinary remedy of reconsideration. There

   has been no new evidence, change in applicable law, or clear error. The only development is the

   failure of Plaintiffs’ primary strategy of pursuing damages under maritime law. See 5/24 Tr. 3:14–

   16 (“The Court made a ruling contrary to what you wanted, and you’ve indicated that it has a

   certain impact on your case[.]”). As a result, Plaintiffs’ counsel acknowledged they have no

   remaining damages. See id. at 7:16–17 (counsel conceding that “all of the damages that we sought

   under maritime law have now been stricken”).

          The Motion for Leave amounts to a request for reconsideration of the damages orders based

   on Plaintiffs’ eleventh-hour theory: Virginia-based arguments (that they strategically chose not to


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   make) for the same remedies the Court has already excluded. But even if Plaintiffs’ argument for

   Virginia remedies had any merit (but see Part II.C infra), reconsideration is inappropriate just for

   a party “to present a better and more compelling argument that the party could have presented in

   the original briefs.” Hilb Rogal & Hobbs Co. v. Rick Strategy Partners, Inc., No. 3:05-cv-355,

   2006 WL 5908727, at *8 (E.D. Va. Feb. 10, 2006) (“a party who fails to present his strongest case

   in the first instance generally has no right to raise new theories or arguments in a motion to

   reconsider”). Despite claiming that they already pleaded Virginia remedies in the Third Amended

   Complaint, Plaintiffs made no argument for those remedies, electing instead to “proffer[ them] for

   the first time” in the Motion for Leave. United States v. Boakye, No. 1:11-cr-455, 2013 WL

   695590, at *2 (E.D. Va. Feb. 25, 2013) (refusing reconsideration based on such arguments). The

   Court acknowledged that Plaintiffs’ new theory invoking Virginia law was “something the Court

   hadn’t heard before.” 5/24 Tr. 6:4–5. Thus, reconsideration is not warranted for Virginia-based

   arguments that could have been pursued the first time around.

          C.      Virginia’s wrongful death statute cannot circumvent remedial limits on
                  Plaintiffs’ maritime claims.

          In any event, the proposed Fourth Amended Complaint is futile because Virginia remedies

   are unavailable to evade this Court’s rulings on maritime damages. Contra Motion for Leave 3–

   6. 2 That is because the U.S. Constitution makes maritime law a uniquely federal matter: “a system

   of law coextensive with, and operating uniformly in, the whole country.” The Lottawanna, 88

   U.S. 558, 575 (1875). Maritime law thus enforces maritime remedial limits against any conflicting

   state-created remedies. Yet Plaintiffs seek to pivot to Virginia remedies here precisely because


   2
     Plaintiffs apparently now seek damages for loss of consortium and medical expenses, Va. Code
   Ann. § 8.01-52(1), (3), along with (capped) punitive damages, id. § 8.01-52(5). Damages for loss
   of support or funeral expenses, Va. Code Ann. § 8.01-52(2), (4), are unavailable because Plaintiffs
   did not seek those damages even under the maritime theory, instead conceding that claim “no
   longer has any damages that we can pursue,” 5/24 Tr. 5:9–10.

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   they conflict with those maritime limits. Other courts respect the constitutional structure by

   rejecting the interjection of state remedies in cases exactly like this one. But Plaintiffs offer not

   one case stitching state-law remedies to the maritime claims brought here. And the case on which

   Plaintiffs rely, Yamaha Motor Corp., U.S.A. v. Calhoun, 516 U.S. 199 (1996), does not apply here

   by its own terms.

                    1.      Maritime remedies control here over conflicting Virginia
                            remedies.

             “With admiralty jurisdiction comes the application of substantive admiralty law.” E. River

   S.S. Corp. v. Transamerica Delaval, Inc., 476 U.S. 858, 864 (1986). That principle follows from

   our constitutional structure: “It certainly could not have been the intention to place the rules and

   limits of maritime law under the disposal and regulation of the several States.” Lottawanna, 88

   U.S. at 575. Such state regulation “would have defeated the uniformity and consistency at which

   the Constitution aimed on all subjects of a commercial character affecting the intercourse of the

   States with each other or with foreign states.” Id. So “[f]ederal law, rather than state, is the more

   appropriate source of a remedy for violation of the federally imposed duties of maritime law.”

   Moragne v. States Marine Lines, Inc., 398 U.S. 375, 401 n.15 (1970); accord Catlin (Syndicate

   2003) at Lloyd’s v. San Juan Towing & Marine Servs., Inc., 974 F. Supp. 2d 64, 86 (D.P.R. 2013)

   (“When causes of actions arise under admiralty law, federal law—rather than state law—controls

   the damages issue.”); Kahumoku v. Titan Mar., LLC, 486 F. Supp. 2d 1144, 1150 (D. Haw. 2007)

   (same).

             That consistent federal remedial scheme protects the uniformity implied by the

   constitutional structure of maritime law. Uniform federal remedies “assure uniform vindication

   of federal policies, removing the tensions and discrepancies” that result when maritime courts try

   “to accommodate state remedial statutes” in federal maritime suits. Moragne, 398 U.S. at 401.


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   Maritime cases thus employ “uniform rule[s] applicable to all actions for the wrongful death of a

   seaman, whether under DOHSA, the Jones Act, or general maritime law.” Miles v. Apex Marine

   Corp., 498 U.S. 19, 33 (1990) (emphasis added). The Fourth Circuit accordingly holds that “state

   law may not . . . conflict with federal maritime law, as it would be redefining the requirements or

   limits of a remedy available at admiralty.” Wells v. Liddy, 186 F.3d 505, 524–25 (4th Cir. 1999).

   Plaintiffs put it well: “While a court considering a case sounding in admiralty jurisdiction may turn

   to state law for direction when confronted with a question as to which maritime law is silent, state

   law cannot be applied in any way that conflicts with established maritime law principles.” Pls.’

   Opp. to MTD Maritime Claims 13–14 n.6 (emphasis added). This Court has already recognized

   how those established maritime law principles apply to the damages sought here: punitive

   damages, survival damages, and recovery for loss of consortium are unavailable under general

   maritime law. See, e.g., Report and Recommendation on JCI’s Motion to Exclude 3 (“[T]hese

   damages were not traditionally available in maritime negligence cases arising from an injury to

   seamen.”).

          Other courts have properly forbidden Plaintiffs’ Frankenstein approach of grafting state-

   law remedies onto federal maritime claims. For example, another former Navy machinist suing

   third-party manufacturers for maritime negligence because of asbestos exposure unsuccessfully

   invoked state remedies in Sebright v. General Electric Co., 525 F. Supp. 3d 217, 223 (D. Mass.

   2021). That court held (as here) that damages for loss of consortium were unavailable under

   maritime law. Id. at 250–51. And the court rejected a state-law backdoor for those same damages

   because “if a corresponding remedy is available under state law, it must not be applied to

   contradict maritime law principles.” Id. at 250. So “state law remedies are unavailable to spouses




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   and dependents of injured seamen under Massachusetts state law, since the general maritime law

   does not permit them.” Id.

          Plaintiffs’ Motion for Leave tellingly cites not one case permitting remedies under state

   law for a maritime claim when those same remedies were unavailable under maritime law. In fact,

   a case cited by Plaintiffs reached the same conclusion as Sebright. See Hays v. John Crane, Inc.,

   No. 9:09-cv-81881, 2014 WL 10658453, at *3 (S.D. Fla. Oct. 10, 2014) (“[W]hen the decedent is

   a seaman or person engaged in the maritime trade, as [plaintiff] was in this case, federal maritime

   law and the remedies available under that law control.”); see also In re Bertucci Contracting Co.,

   LLC, 712 F.3d 245, 247 (5th Cir. 2013) (“We have clearly held that state law does not supply an

   alternative remedy to a claimant when its claim was already denied in its proper maritime

   jurisdiction. . . . To allow state law to supply a remedy when one is denied in admiralty would

   serve only to circumvent the maritime law’s jurisdiction.”).

          Plaintiffs’ approach is particularly incongruous here because of the substantive differences

   between claims under federal maritime law and Virginia law, which confirm how ill-suited

   Virginia remedies are to Plaintiffs’ maritime claims. As the Supreme Court explained in Moragne,

   maritime law’s remedial scheme provides the rule of decision to avoid “[t]he incongruity of forcing

   the States to provide the sole remedy to effectuate duties that have no basis in state

   policy.” Moragne, 398 U.S. at 401 n.15. That incongruity would be present in spades here

   because:

              •   Maritime law recognizes strict liability, but Virginia does not. Sensenbrenner v.

                  Rust, Orling & Neale, Architects, Inc., 236 Va. 419, 424 n.4 (1988);

              •   Plaintiffs advance a maritime negligence claim based on a “should have known”

                  standard of care, see, e.g., Pls.’ Proposed Jury Instructions 11–12, but Virginia



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                  rejects that standard in favor of the “knew or had reason to know” standard. Owens-

                  Corning Fiberglas Corp. v. Watson, 243 Va. 128, 136 (1992) (discussing the

                  significant difference between those standards); and

              •   Maritime law follows the “substantial contributing factor” standard for causation,

                  Lindstrom v. A-C Prod. Liab. Tr., 424 F.3d 488, 493 (6th Cir. 2005), which has

                  been expressly rejected in Virginia in favor of the “sufficient to have caused”

                  standard. Ford Motor Co. v. Boomer, 285 Va. 141, 153–55, 158 (2013).

   So the requested application of Virginia remedies not only would destroy maritime uniformity,

   contra Miles, 498 U.S. at 27, but would create a neither-fish-nor-fowl patchwork claim.

                  2.     Calhoun does not support the application of conflicting
                         Virginia remedies in this seaman’s case.

          Plaintiffs wrongly rely on Yamaha Motor Corp., U.S.A. v. Calhoun, 516 U.S. 199 (1996),

   for the attempted state-law backdoor. That case is inapplicable here by its own terms because, as

   Plaintiffs concede, Mr. Mullinex was a “Navy seaman” whose “work, from start to finish, was

   performed on ships on navigable waters.” Pls.’ Opp. to MTD Maritime Claims 3. Calhoun,

   however, limited its holding to “maritime wrongful-death cases in which no federal statute

   specifies the appropriate relief and the decedent was not a seaman, longshore worker, or person

   otherwise engaged in a maritime trade.” 516 U.S. at 202 (emphasis added). Thus, as decisions in

   Calhoun’s wake make clear, only a very “narrow” class of cases escapes the constitutional mandate

   of uniformity in maritime remedies. Savoie v. Chevron Texaco, No. 2:04-cv-1302, 2005 WL

   2036740, at *3–4 (E.D. La. July 22, 2005); In re Goose Creek Trawlers, Inc., 972 F. Supp. 946,

   950 (E.D.N.C. 1997); accord Ghotra by Ghotra v. Bandila Shipping, Inc., 113 F.3d 1050, 1058

   (9th Cir. 1998) (holding marine surveyor on vessel engaged in a maritime trade).




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          Courts—including those on whose decisions Plaintiffs rely—hold that the narrow band of

   cases covered by Calhoun does not include a maritime claim (like this one) arising from work by

   a seaman aboard Navy vessels. In Hays, for example, the plaintiff sought damages from JCI under

   Florida law despite asserting a maritime negligence theory based on asbestos exposure aboard

   Navy vessels. The court explained that “the Yamaha decision only concerns the remedies available

   under a state’s wrongful death statute, and not the shape of the wrongful death action under federal

   general maritime law … Since it has been determined that federal maritime law, and not state law,

   applies in this case, the holding of Yamaha is not applicable here.” Hays, 2014 WL 10658453, at

   *4; see also Sebright, 525 F. Supp. 3d at 251 (“[Plaintiff] cannot … be considered a ‘nonseafarer,’

   and Calhoun is distinguishable from the present case on this basis.”). Even Plaintiffs distinguished

   Calhoun’s holding precisely “because none of the plaintiffs in th[at] case[] were seaman.” Pls.’

   Opp. to MTD Survival Claim 18.

          In any event, Calhoun did not address a conflict between maritime law and state law. To

   the contrary, the Court assumed federal maritime law provided the same remedies as state law.

   Calhoun, 516 U.S. at 210 n.7 (assuming Moragne provides a wrongful-death and survival action

   consistent with state law). And the Court twice reaffirmed that state law cannot contradict federal

   maritime law. Id. at 207 (explaining that the Court has “generally refused to give effect to state

   laws regarded as inconsonant with the substance of federal maritime law”); id. at 215 n.13

   (“Permissible state regulation, we have recognized, must be consistent with federal maritime

   principles.”). Calhoun—inapplicable in the first instance to a seaman’s claim—does not speak to

   the distinct issue of what happens when state law conflicts with federal maritime law.

          Against this backdrop, Plaintiffs overread this Court’s remark about Calhoun,

   misconstruing the statement as a definitive holding on the merits “that Plaintiff may recover



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   damages under Virginia’s wrongful death statute” in conjunction with claims under general

   maritime law. Motion for Leave 13. But the parties had not briefed that issue because, until the

   morning of trial, Plaintiffs had gone to great pains to avoid the application of state law. And as

   detailed above, Calhoun expressly limits its holding to the non-seaman context in which it arose

   while insisting that any state remedies be consistent with federal maritime remedies. Thus, the

   better reading of the Court’s opinion is not a substantive resolution of an unbriefed issue, but a

   procedural observation: “Plaintiff could have pursued a wrongful death claim against Defendant

   under Virginia law”—but chose not to in favor of requesting that the Court apply general maritime

   law (and the remedies that Plaintiffs believed were available under maritime law). Opinion

   Granting JCI’s MTD Survival Claim 9–10 (emphasis added). For all these reasons, Virginia

   wrongful death remedies are unavailable here anyway, so the proposed Fourth Amended

   Complaint is futile.

   III.   THE PROPOSED AMENDMENT WOULD PREJUDICE JCI.

          Last, the Motion for Leave should be denied because allowing this late amendment would

   prejudice JCI. JCI was prepared to begin trial on May 24, and the amendment would require JCI

   to duplicate the burdens of trial preparation based on a damages theory that Plaintiffs could have

   presented long ago—and should have presented, if the theory had any merit. Compounding this

   prejudice, Plaintiffs will certainly argue in a post-trial appeal for reversal of the order excluding

   maritime pain and suffering damages, and thus that another trial is needed. Rather than Plaintiffs’

   piecemeal approach, the Motion for Leave should be denied, and judgment should be entered for

   JCI. Plaintiffs may then appeal the judgment to resolve all outstanding issues at once.

          For Rule 15, prejudice means “undue difficulty in prosecuting a lawsuit as a result of a

   change of tactics or theories on the part of the other party.” Peters, 2015 WL 269424, at *3. The

   further the case has progressed, the more likely an amendment will prejudice the defendant. Adbul-

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   Mumit v. Alexandria Hyundai, LLC, 896 F.3d 278, 293 (4th Cir. 2018); see also Red Bird Egg

   Farms, Inc., 15 F. App’x at 154 (affirming denial of leave to amend that came three days before

   trial).

             As the Court put it, Plaintiffs’ proposed amendment “throws a curve ball into a whole lot

   of the litigation” at this late stage. 5/24 Tr. 6:8–9; see also Equal Rts. Ctr. v. Niles Bolton Assocs.,

   602 F.3d 597, 603–04 (4th Cir. 2010) (amendment that came “belatedly” at the close of a three-

   year discovery process and on the eve of dispositive motions would be “unduly prejudicial”). In

   particular, the amendment would prejudice JCI because JCI would need to re-prepare for trial after

   already investing the time and resources to do so. And worse still, the amendment would likely

   cause JCI to face multiple trials—as well as appeals.

             Plaintiffs’ request to amend the Third Amended Complaint came on the morning the jury

   trial was set to begin. Contrary to their assertion that JCI would not be prejudiced because “a new

   trial date has not yet been reset,” Motion for Leave 8, JCI has already devoted significant resources

   to preparing for a trial that was postponed at the last minute because of Plaintiffs’ strategic shift.

   JCI readied fact witnesses, experts, and exhibits for a three-week jury trial, which was no small

   undertaking. Allowing Plaintiffs’ belated change of tactics would saddle JCI with the substantial

   burdens of re-preparing for a trial put on hold by Plaintiffs’ attempted mulligan.

             Beyond the prejudice of preparing for trial again, JCI will be prejudiced because Plaintiffs

   will inevitably argue in any post-trial appeal that another trial is needed for pain and suffering

   under maritime law. See 5/24 Tr. 4:25–5:3 (“Historically, we had preferred, because mesothelioma

   is such a horrific disease, we had preferred to ask for the pain and suffering in the maritime law

   than the Virginia damages.”). Indeed, Plaintiffs continue to relitigate the dismissed survival claim

   in the Motion for Leave (at 10–12 & n.3), even though that is not an available remedy under the



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   Virginia law now pursued, see 5/24 Tr. at 4:19–21. That Plaintiffs continue to be “surprised by

   this Court’s ruling” applying Batterton, Motion for Leave 11, confirms that the better course is to

   enter judgment now so that an appeal can resolve all these damages issues at once. See generally

   JCI’s Memo. in Support of Suppl. MSJ, ECF 548 (June 14, 2022). That will avoid the need to

   occupy yet more of this Court’s docket and the jurors’ time.

                                           CONCLUSION

          For these reasons, the Court should deny Plaintiffs’ Motion for Leave to File a Fourth

   Amended Complaint. And for the reasons already addressed by JCI, the Court should then enter

   summary judgment for JCI.




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   Dated: July 1, 2022.

                                                     Respectfully submitted,
                                                     JOHN CRANE INC.
                                                     Defendant

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                                    CERTIFICATE OF SERVICE

          I hereby certify that on this 1st day of July, 2022, a true and accurate copy of the foregoing

   was filed electronically using the CM/ECF system, which will then send a notification of such

   filing (NEF) to all counsel of record.

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